“’ IN THE UNITED sTATEs DISTRICT coURT'
WESTERN DISTRICT oF TENNESSEE

EASTERN DIvIsIoN
MICHAEL PARKER and ) _':-.”-“:ZI§ §§ ;:r:,
JANICE PARKER, ) -U 1' 5 C: §§
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) DOCKET No. 051065T_Ai;s_;‘~»"’~'~-f'l § §§
v, ) Jury nemand (6) §§ §§j go '3
) Magistrate Judge Anderso ::'3 "H"‘ §§ £_ .C]
RETROTECH INCORPORATED, ) -`-#- ' m m
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RULE 16(h) SCHEDULING ORDER

As required by Rule 16(b) of the Federal Rules of Civil Procedure, counsel for the parties have

conferred to discuss the issues enumerated in Federal Rule 16, and submit to the Court this Proposed

Scheduling Order

A. Status of Service of Process and Responsive Pleading

This action was commenced in the Circuit Court for Madison County, Tennessee on February 14,
2005 under Civil Action No. C-04-519. Defendant Retrotech lncorporated was served with copies of the
summons and amended complaint pursuant to the Long Arm Statute through the Tennessee Secretary of State
dated February 15, 2005 . Defendant Retrotech filed a Notice of Removal and Petition of Removal on or
about March 2, 2005. This case was removed from Circuit Court to the United States District Court for the
Western Division on or about March 7, 2005. Defendant Retrotech answered Plaintiffs’ Amended Complaint

on or about March 17, 2005. Plaintiffs filed a Motion to Amend Complaint in the United States District

Court for the Western District on or about Mayl 6, 2005.

B. Jurisdiction

This Honorable Court has original jurisdiction in this matter pursuant to 28 U.S.C. §l332(a)(l) in

This document entered on the docket sheet in compliance
with Ru!e 58 and,-'or _79 (a) FRCP on

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that the parties are citizens of different States and the matter in controversy is in excess of Seventy-five
Thousand Dollars ($75,000.00), exclusive of interest and costs. Jurisdiction is not disputed.

C. The Parties Theories of the Case

 

1. Plaintiffs’ Theory of the Case:

On or about April 20, 2004, Michael Parker (“hereinafter Plaintiff”) was operating a crane when the
platform fell to the ground causing him serious personal injuries The Plaintiff alleges, under the theory of
Respondent Superior, that the employees ofRetrotech lncorporated (“ hereinafter Defendant”) who inspected
and maintained the crane system at Pinncale Foods were negligent Specifically, the Plaintiff alleges that
the Defendant employees failed to properly maintain the crane system; failed to properly inspect the crane
in order to discover the dangerous condition; failed to warn of the dangerous condition; knew or should have
known that there was a dangerous condition on the crane; failed to provide proper mechanical care to the
crane system; and failed to inform Pinnacle Foods of the dangerous condition of the crane system..

Retrotech Incorporated was hired by Pinnacle Foods to inspect and maintain the crane system.
Pinnacle Foods requested that the Defendant perform load rating testing documentation after modification
However, the Defendant informed Pinnacle Foods that no load rating tests are performed after modification.
The Defendant’s inspection after the accident concluded that several cracks in the frame were present on the
crane in question and that a drive chain breakage caused the accident The Defendant also concluded that
the cracks in the frame were present before the accident due to rust and the surface of the cracks.
Additionally, the brake system on the crane was not operational at the time of the accident and the secondary
brake system did not work due to grease build up.

Due to the problems with the crane system at Pinnacle Foods, the Plaintiff sustained serious injuries
including a fractured C3 vertebrae and a ruptured CS vertebrae. The negligent acts and omissions cf the
Defendant’s employees are the proximate cause of the Plaintiff’ s injuries. Therefore, the Plaintiff is entitled

to damages.

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2. Defendant’s Theory of the Case:

Retrotech, Inc. was employed to install an “over speed” detector on the subject system in December
2003. That work was completed in January 2004. In March, 2004 Retrotech employees tested both the “over
speed” detector and the “slack cable” detector. Both systems deployed the brake pads as intended. But tests
revealed that the brake pads, when deployed, were not effectively slowing the decent of the carriage due to
a build up of dirt and grease due to a lack of maintenance on the part ofPinnacle. Retrotech documented
this condition and reported it to Pinnacle as a dangerous condition that required a remedy. Pinnacle
apparently did not act on this information The accident occurred within weeks

Retrtotech, Inc. properly performed all work it contracted to perform. Retrotech did not
breach any duty it had regarding the system in question. Pinnacle had the duty to maintain the system
and it is Pinnacle’s failure to properly maintain the system that is the proximate cause of plaintiffs injuries
and damages The chain which broke was manufactured by US Tsubaki, Inc. and was of an
appropriate design strength. Retrotech relies on all defenses available under T.C.A., Section 29-28-
101 et seq.
D. Initial Disclosures pursuant to Rule 26§a1§ 11

Pursuant to Federal Rule of Civil Procedure 26(a)(1), all parties must make their initial disclosures
within fourteen (14) days of the date set for the Scheduling Conference. A deadline later than fourteen (14)
days from the Scheduling Conference date must be due to special circumstances and authorized by the Court.

E. Joining Parties

The Plaintiffs shall join all additional parties by August 7, 2005. The Defendant shall join all
additional parties by September 7, 2005.
F. Amending Pleadings

The Plaintiffs shall amend all pleadings by August 7, 2005. The Defendant shall amend all pleadings

by September 7, 2005.

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G. Compieting all Discoveg
All discovery shall be completed by February 7, 2006.

1. Requests for Production, Interrogatories, and Requests for Admission

All Requests for Production, Interrogatories, and Requests for Admissions must be completed
between December 7, 2005 and February 7, 2006.

2. Expert Disclosure pursuant to Rule 26(a)(3)

The Plaintiffs must disclose their Rule 26(a)(3) Expert no later than December 7, 2005. The
Defendant must disclose their Rule 26(a)(3) Expert no later than January 7, 2006. Under Rule 26(e),
supplementation of the Expert Disclosure must be done by January l7, 2005.

3. Depositions of Experts

Expert Depositions must be completed by February 7, 2006, unless the Court authorizes a later date
due to special circumstances
H. Fiiing Dispositive Motions

All Dispositive Motions must be filed by February 22, 2006.

I. Final Witness and Exhibit Lists pursuant to Rule 26§a|§31

The Plaintiffs must submit their final list of witnesses and exhibits by April 7, 2006. The Defendant
must submit their final list of witnesses and exhibits by April 22, 2006. The parties shall have ten (10) days
after service of final lists of witnesses and exhibits to file objections under Rule 26(a)(3).

The trial of this matter is expected to last three to five (3-5) days and is SET for IURY TRIAL on
May 22, 2006 at 9:30 A.M.

J. Other Relevant Matters

 

lnterrogatories, Requests for Production and Requests for Admissions must be Submitted to the
opposing party in sufficient time for the opposing party to respond by the deadline for completion of
discovery. For example, if the FRCP allow thirty (30) days for a party to respond, then the discovery must
be submitted at least thirty (3 0) days prior to the deadline for completion of discovery.

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Motions to compel discovery are to be filed and served by the discovery deadline or within 30 days
of default or service of the response, answer, or objection which is the subject of the motion if the default
occurs within thirty (30) days ofthe discovery deadline, unless the time for filing of such motion is extended
for good cause shown, or any objection to the default, response or answer shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(l )(A) and (a)(l)(B), all motions, except
motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a proposed Order and a Certificate
of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither party may file an
additional reply, however, without leave of the court. If a party believes that a reply is necessary, it shall file
a motion for leave to file a reply accompanied by a memorandum setting forth the reasons for which a reply
is required

The parties may consent to trial before the Magistrate Judge. The Magistrate Judge can normally
provide the parties with a definite trial that will not be continued unless a continuance is agreed to by all
parties, or an emergency arises which precludes the matter from proceeding to trial.

The parties are encouraged to engage in court-annexed attorney mediation or private mediation
on or before the close discove_r_g.

This order has been entered after consultation with trial counsel pursuant to notice. Absent good
cause shown, the scheduling dates set by this Order will not be modified or extended.

IT IS SO ORDERED

,_,..._._.
MA:J

S. THOMAS ANDERSON
UNITED STA'I`ES MAGISTRATE JUDGE

Date: QZ¢M OZ'. mr
C/

 

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APPROVED FOR ENTRY:

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Attomey for Defendant

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CERTIFICATE OF SERVICE

I hereby certify that the foregoing has been sent via the United States Postal Service, with first»class
prepaid postage, to:

Malcolm L. McCune
Bradford & McCune
201 Fourth Avenue North
Nashville, TN 37219

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on this 'Zgl !> day ofm¢z;, 2005.

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Donald D. Zuccarello j

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 1:05-CV-01065 Was distributed by fax, mail, or direct printing on
June 6, 2005 to the parties listedl

 

 

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Honorable J ames Todd
US DISTRICT COURT

